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Exhibit L
Case 3:20-cv-13509-GC-DEA Document 66-17 Filed 08/31/22 Page 2 of 5 PagelD: 474

United States District Court
District of New Jersey
Trenton Division

Andrew Ritz and Michael Ritz, Case No. 3:20-cv-13509-FLW-DEA
Plaintiffs,

Vv.

Nissan-Infiniti LT; Trans Union,
LLC; Equifax Information
Services, LLC; and Experian
Information Solutions, Inc.,

Defendants.

Responses to Nissan’s First
Set of Interrogatories, Michael Ritz

Identify the person answering these Interrogatories, all persons who assisted

=
.

itt the preparation of the answers, and state how each person participated in
ike preparation of the atiswers and identify their Social Security numbers.

Response: Plaintiff objects to this interrogatory on the grounds that it
seeks information protected by the attorney client privilege and work
product doctrine. Plaintiff objecis to this request on the grounds that it is
uverly broad fi thai il seeks the social security number of Plaintiffs counsei.
Thai information will not be provided. Subject io these objections, Plaintiff
idettifies ihe followiig persons: Michael Ritz and Guerino Cettto.

State your full name (complete first name, middle name, anid fast name),

N

tlicknamies, former naines, and/ot aliases which you have used aid ihe
Case 3:20-cv-13509-GC-DEA Document 66-17 Filed 08/31/22 Page 3 of 5 PagelD: 475

resolution from the credit agencies and Nissan.

My son and I have been Nissan customers for a long time. IT have had
satisfactory experiences with other dealerships and was quite angry at the way we
were treated when we returned the leased car on August 9, 2020 and Nissan’s false
reporting of our payment history on our credit files.

4. Identification and Quantification of Damages

Pecuniary Damages: Plaintiff identifies, describes and quantifies the

following pecuniary damages:!°

| / Pecuniary Damages |
| Credit Denials | $ 0.00 |
Lost Job Opportunities Be is 0.00.
“Insurance Denials oe a $ 0.00
| Financial Loss Oe '§ - 0. 00 |
‘Delay in Obtaining Approval for Credit / - _|s- 5,000.0 00. |
| Loss of Credit Opportunity '$ 20,000.00 |
| ‘Out-Of Pocket Expenses | $ 500. 00 |
| ‘Time Expended i in Disputing Errors { i$ 500. 00) |
$26,000.00,

These itemizations are based upon information currently known and,

therefore, are subject to change as discovery continues.

‘0 Amounts are based in part on prior relevant FCRA jury verdicts.

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Non-Pecuniary Damages: Plaintiff identifies, describes and quantifies

the following non-pecuniary damages:!!

Non-Pecuniary Damages

Loss of Sleep
| Nervousness
Frustration
Mental Anguish Over Consumer Report
Injury to Reputation
Injury to Family Work and Sense of Well Being
Humiliation
Embarrassment
Mental Distress

Future Damages for Continuing Violation

$
$
$
$
$
$
$
$
$
$
$

Amount
7,500.00 |
7,500.00 |

17,500.00
17,500.00
5,000.00
7,500.00
7,500.00
7,500.00
15,000.00
7,500.00

100,000.00

These itemizations are based upon information currently known and,

therefore, are subject to change as discovery continues.

Punitive Damages: At trial Plaintiff intends to seek punitive damages

for Nissan’s wiilfui violations in the amount of $5 million doliars.!4

12. Tf you contend you have experienced any sort of physical, mental or

emotional distress as the result of any alleged action or inaction of NMAC or

any other person or entily, desertbe with particularity cach symptom you

1} Amounts are based in part on prior relevant FCRA jury verdicts.

12 Amounts are based in part on prior relevant FCRA jury verdicts.

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Verification

I, Michael Ritz, have read the foregoing interrogatories and the answers to
those interrogatories, which are true according to the best of my knowledge,

information and belief. I declare under penalty of perjury that the foregoing is true

and correct.

f

/ c

Michaei Ritz 5

/s/Guerino Cento VERONICA C GRvGo
Guerino Cento } Notary Public - State of New Jersey |
CENTO LAW My Commission Expires Sep 5, 2024
5666 Carrollton Avenue
Indianapolis, IN 46220
(317) 908-0678

cento@centolaw.com

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